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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

 NOAH BREWINGTON                         )
                                         )
 v.                                      ) CIVIL NO. 2:23-cv-00199-GZS
                                         )
 KEVIN J. JOYCE, et al                   )

                           CLERK'S CIVIL CERTIFICATE

       I, Christa K. Berry, Clerk of the United States District Court for the District of Maine,

hereby certify that the following are hereby electronically transmitted to the First Circuit

Court of Appeals and constitute the Abbreviated record on appeal:

       Documents Numbered:          18      Appeal Cover Sheet
                                    19      Clerk’s Certificate
                                    17      Notice of Appeal
                                    16      Judgment


       I hereby certify that the record and docket sheet available through ECF to be the

certified record and docket entries. All non-electronic documents of record have been

forwarded this date with a copy of this Certificate.

       Non-Electronic Documents: N/A




Dated September 1, 2023.
                                            CHRISTA K. BERRY, Clerk

                                    By:          /s/ Lindsey Tully
                                            Case Manager
